Case 1:15-mc-00141-MSK-MEH Document 10 Filed 08/18/15 USDC Colorado Page 1 of 3




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

   Civil Action No. 15-mc-00141-MSK-MEH

   AQUATECH INTERNATIONAL CORPORATION, and
   DEBASISH MUKHOPADHYAY,

          Plaintiffs,

   v.

   VEOLIA WATER WEST OPERATING SERVICES, INC., and
   VEOILA WATER NORTH AMERICA OPERATING SERVICES, INC.,

          Defendants.

   v.

   MOLYCORP MINERAL, LLC,

          Third-Party Defendant.


           RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE
   ______________________________________________________________________________

   Michael E. Hegarty, United States Magistrate Judge.

          Before the Court is Third-Party Defendant Molycorp Mineral, LLC’s Motion to Quash [filed

   July 10, 2015; docket #1], which was referred to this Court for recommendation. (Docket #3.) For

   the reasons that follow, the Court recommends transfer of the motion to United States District Court

   for the Western District of Pennsylvania pursuant to Fed. R. Civ. P. 45(f).1


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           Be advised that all parties shall have fourteen (14) days after service hereof to serve and file
   any written objections in order to obtain reconsideration by the District Judge to whom this case is
   assigned. Fed. R. Civ. P. 72(b). The party filing objections must specifically identify those findings
   or recommendations to which the objections are being made. The District Court need not consider
   frivolous, conclusive or general objections. A party’s failure to file such written objections to
   proposed findings and recommendations contained in this report may bar the party from a de novo
   determination by the District Judge of the proposed findings and recommendations. United States
   v. Raddatz, 447 U.S. 667, 676-83 (1980); 28 U.S.C. § 636(b)(1). Additionally, the failure to file
Case 1:15-mc-00141-MSK-MEH Document 10 Filed 08/18/15 USDC Colorado Page 2 of 3




          Third-Party Defendant Molycorp, headquartered in Colorado, requested this Court’s

   intervention to quash a subpoena served on it by Plaintiffs seeking document production. Motion

   to Quash, docket #1 at 1. Plaintiffs timely responded, indicating the extensive history of this case

   in the United States District Court for the Western District of Pennsylvania [“PAWD”] and seeking

   transfer of the subject motion to that district under Fed. R. Civ. P. 45(f). Response, docket #7 at 2.

   Plaintiffs further explained:

          The collective litigation history of the PAWD patent cases is now some five years,
          and [Chief] Judge [Joy Flowers] Conti has presided over all substantive proceedings.
          [] Where there is, as here, an extensive record with a procedure embodying the
          formality for the claim construction proceedings, it is appropriate to have Judge
          Conti consider and to determine Molycorp’s Motion. Moreover, Judge Conti is
          already handling similar Motions to Quash Subpoenas filed by third-party VWT
          [Veolia Water Solutions & Technologies] [].

   Id. at 2 (extraneous information and case numbers omitted).

          Importantly, Molycorp does not object to the transfer of this motion to Judge Conti. Reply,

   docket #9 at 1. The Court notes that neither Veolia Water West Operating Services, Inc. nor Veolia

   Water North America Operating Services, LLC, entered an appearance or responded to the motion;

   however, Plaintiffs indicated they had communicated the desire to transfer the motion to PAWD and

   received no response. Response, docket #7 at 2. The Court further notes that the Veolia Defendants

   are not seemingly affected by the outcome of this motion as it focuses on a subpoena served by

   Plaintiffs on Third-Party Defendant Molycorp and Molycorp’s objection to document production.

          With the matter fully briefed and the affected parties in agreement, the Court respectfully




   written objections to the proposed findings and recommendations within fourteen (14) days after
   being served with a copy may bar the aggrieved party from appealing the factual findings of the
   Magistrate Judge that are accepted or adopted by the District Court. Thomas v. Arn, 474 U.S. 140,
   155 (1985); Moore v. United States, 950 F.2d 656, 659 (10th Cir. 1991).

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Case 1:15-mc-00141-MSK-MEH Document 10 Filed 08/18/15 USDC Colorado Page 3 of 3




   recommends transfer of the Motion to Quash [filed July 10, 2015; docket #1] to the Honorable Joy

   Flowers Conti, Chief Judge of the United States District Court for the Western District of

   Pennsylvania.

          Dated at Denver, Colorado, this 18th day of August, 2015.

                                               BY THE COURT:




                                               Michael E. Hegarty
                                               United States Magistrate Judge




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